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IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF PUERTO RICO

UNITED STATES OF AMERICA,
Plaintiff,
Crim. No. 22-065 (F43 )
Vv.
54678 9
FRANCES M. DIAZ >" ‘0
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Defendant. = CLERK'S ares” >
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MAR ~ 4 2022
By oe (F.
PLEA AGREEMENT » US DISTRICT courr &
°, SAN JUAN, PR AV
TO THE HONORABLE COURT: “Sa5 gt”

The United States of America, Defendant, Frances M. Diaz, and Defendant’s
counsel, Maria A. Dominguez, Esq. and Carlos A. Perez-Irizarry, Esq., pursuant to Federal
Rule of Criminal Procedure 11, state that they have reached a Plea Agreement, the terms
and conditions of which are as follows:

1. Charges to which Defendant will Plead Guilty

Defendant agrees to waive her right to be indicted by a Grand Jury and plead

guilty to a one count Information charging the following:

Count One: Conspiracy to Commit Federal Programs Bribery and to Violate the

St

Bank Secrecy Act. Defendant combined, conspired, and agreed with other persons both
known and unknown to the United States, to commit offenses against the United States,
including:
a) to corruptly give, offer, and agree to give things of value to one or more public
officials of the Commonwealth of Puerto Rico, a territory which during each relevant

we one-year period received federal benefits in excess of $10,000, with the intent of

influencing and rewarding the same public official(s) in connection with any
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business, transaction, and series of transactions of the commonwealth territory of
Puerto Rico valued at $5,000, in violation of 18 U.S.C. § 666(a)(2); and
b) to willfully violate the Bank Secrecy Act, specifically, 31 U.S.C. §§ 5318 and 5322,
and regulations issued thereunder, namely 31 C.F.R. § 1020.320, by not filing with
the United States Department of Treasury required reports of suspicious activity, in
violation of 31 U.S.C. §§ 5318(g); 5322; and 31 C.F.R. § 1020.320.
2. Maximum Penalties
The maximum statutory penalty for the offense charged in Count One of the
Information is a term of imprisonment of five years, pursuant to 18 U.S.C. § 371; a fine not
to exceed two hundred and fifty thousand dollars, pursuant to 18 U.S.C. § 3571(b)(3); and a
supervised release term of not more than three years, pursuant to 18 U.S.C. § 3583(b)(2).
3. Sentencing Guidelines Applicability
Defendant understands that the sentence will be imposed by the Court in accordance
with 18 U.S.C. §§ 3551-86, and the United States Sentencing Guidelines (hereinafter
“Guidelines”), which are advisory pursuant to the United States Supreme Court decision in
United States v. Booker, 543 U.S. 220 (2005). Further, Defendant acknowledges that parole
has been abolished, and that the imposition of Defendant’s sentence may not be suspended.
4. Special Monetary Assessment
Defendant agrees to pay a special monetary assessment (“SMA”) of one hundred.
dollars ($100.00). The SMA will be deposited in the Crime Victim Fund, pursuant to 18

U.S.C. § 3013 (a)(2)(A).

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5. Fines and Restitution
The Court may, pursuant to Section 5E1.2 of the Guidelines order Defendant to pay
a fine. The Court may also impose restitution. Defendant agrees to execute and make
available, prior to sentencing, a standardized financial statement (OBD Form 500). The
United States will advocate on behalf of any identified victim and comply with its
obligations under the Mandatory Victim Restitution Act of 1996.
6. Sentence to be Determined by the Court
Defendant understands that the sentence to be imposed will be determined solely by
the United States District Judge. The United States cannot make and has not made any
Zt promise or representation as to what sentence Defendant will receive. Any discussions that
MD the parties might have had about possible sentences are not binding in any way on the
Court, and do not constitute representations about what the parties will seek, or what the
actual sentence will be.
7. Recommended Sentencing Guidelines Calculations
After due consideration of the relevant factors enumerated in 18 U.S.C. § 3553(a),
the United States and Defendant submit that the advisory Guidelines calculations listed
below apply to Defendant. However, Defendant acknowledges that the Court is not

required to accept those recommended Guidelines calculations.

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SENTENCING GUIDELINES CALCULATIONS

COUNT ONE
18 U.S.C. § 371

Conspiracy to Commit Federal Programs Bribery:

Base Offense Level pursuant to U.S.S.G. §§ 2X1.1, 2C1.1(a)

Offense involved a bribe payment of more than $40,000 pursuant to
U.S.S.G. §§ 2C1.1(b)(2), 2B1.1(b)(2) +6
Offense involved a bribe offered to an elected official pursuant to
U.S.S.G. § 2C1.1(b)(3) ea
Defendant acted in a managerial or supervisory role pursuant to
U.S.S.G. §3B1.1(b) 43
Abuse of position of private trust pursuant to U.S.S.G. § 3B1.3 42
Acceptance of Responsibility pursuant to U.S.S.G, § 3E1.1 3
Total Adjusted Offense Level for Federal Programs Bribery 24
Conspiracy to Violate the Bank Secrecy Act:
Base Offense Level pursuant to U.S.S.G. §§ 2X1.1, 251.3(b) g
Defendant acted in a managerial or supervisory role pursuant to
USS5.G. §3BL 16) 43
Abuse of position of private trust pursuant to U.S.S.G. § 3B1.3 42
Acceptance of Responsibility pursuant to U.S.S.G, § 3E1.1 4
Total Adjusted Offense Level for Bank Secrecy Act i
TOTAL ADJUSTED OFFENSE LEVEL 24
CHCat.I | CHCat.It | CHCat. 1 | CHCat.Iv | CHCat.V | CHCat. Vi
51-63 57-71 63-78 77-96 92-115 100-125

8. Sentence Recommendation

As to Count One, and after due consideration of the relevant factors enumerated in

18 U.S.C. § 3553(a), the parties agree that a sentence within the stipulated Guidelines Range

would constitute a reasonable sentence. However, the parties agree that either party may

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seek a variance and suggest that the Court consider a sentence outside of the stipulated
Guidelines Range, based upon the factors to be considered in imposing a sentence pursuant
to 18 U.S.C. § 3553(a).
9. No Stipulation as to Criminal History Category
The parties do not stipulate as to any Criminal History Category for Defendant.
10. Waiver of Appeal
Defendant knowingly and voluntarily agrees that, if the sentence imposed by the
Court is within or below the Guidelines range for the total offense level calculated in this
Plea Agreement when combined with Defendant’s criminal history category as determined
by the-Court, Defendant waives the right to appeal any aspect of this case’s judgment and
sentence, including, but not limited to the term of imprisonment or probation, restitution,
fines, forfeiture, and the term and conditions of supervised release.
11. No Further Adjustments or Departures
The United States and Defendant agree that no further adjustments or departures to
Defendant’s total adjusted base offense level—other than any explicitly provided for in this
Plea Agreement or accompanying Supplement—shall be sought by Defendant or the United
States. The parties agree that any request by Defendant for a departure that is not explicitly
rovided for in this Plea Agreement will be considered a material breach of this Plea
Agreement, and the United States will be free to ask for any sentence, either guideline or
statutory.
12. Satisfaction with Counsel
Defendant is satisfied with counsel, Maria A. Dominguez, Esq. and Carlos A. Perez-

Irizarry, Esq., and asserts that counsel has rendered effective legal assistance.

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13. Rights Surrendered by Defendant Through Guilty Plea

Defendant understands that by entering into this Plea Agreement, Defendant

surrenders and waives certain rights as detailed in this agreement. Defendant understands

that the rights of criminal defendants include the following:

da.

If Defendant had persisted in a plea of not guilty to the charges, Defendant

would have had the right to a speedy jury trial with the assistance of counsel.
The trial may be conducted by a judge sitting without a jury if Defendant, the
United States and the judge agree.

If a jury trial is conducted, the jury would be composed of twelve lay persons
selected at random. Defendant and Defendant’s attorney would assist in
selecting the jurors by removing prospective jurors for cause where actual bias
or other disqualification is shown, or by removing prospective jurors without
cause by exercising peremptory challenges. The jury would have to agree,
unanimously, before it could return a verdict of either guilty or not guilty. The
jury would be instructed that Defendant is presumed innocent, that it could
not convict Defendant unless, after hearing all the evidence, it was persuaded
of Defendant’s guilt beyond a reasonable doubt, and that it was to consider
each charge separately.

If a trial is held by the judge without a jury, the judge would find the facts
and, after hearing all the evidence and considering each count separately,
determine whether or not the evidence established Defendant’s guilt beyond a
reasonable doubt.

At a trial, the United States would be required to present its witnesses and
other evidence against Defendant. Defendant would be able to confront those
witnesses and Defendant’s attorney would be able to cross-examine them. In
turn, Defendant could present witnesses and other evidence on Defendant’s
own behalf. If the witnesses for Defendant would not appear voluntarily,

‘Defendant could require their attendance through the subpoena power of the

Court.

At a trial, Defendant could rely on the privilege against self-incrimination to
decline to testify, and no inference of guilt could be drawn from Defendant’s
refusal to testify. If Defendant desired to do so, Defendant could testify on
Defendant’s own behalf.

14. Stipulation of Facts

The accompanying Stipulation of Facts signed by Defendant is hereby incorporated

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into this Plea Agreement. Defendant adopts the Stipulation of Facts and agrees that the facts
therein are accurate in every respect. Defendant agrees and accepts that had the matter
proceeded to trial, the United States would have proven those facts beyond a reasonable
doubt.
15. Limitations of Plea Agreement
This Plea Agreement binds only the United States Attorney’s Office for the District
of Puerto Rico, the Public Integrity Section of the Criminal Division of the U.S. Department
of Justice, and Defendant. It does not bind any other federal district, state, or local
authorities.
16. Entirety of Plea Agreement
This written agreement constitutes the complete Plea Agreement between the United
States, Defendant, and Defendant’s counsel. The United States has made no promises or
representations except as set forth in writing in this Plea Agreement and accompanying
Supplement.
17. Amendments to Plea Agreement
No other promises, terms or conditions will be entered into between the parties
unless they are in writing and signed by all parties.
18. Voluntariness of Plea Agreement
Defendant acknowledges that no threats have been made against Defendant and that
Defendant is pleading guilty freely and voluntarily because Defendant is guilty.
19. Breach and Waiver
Defendant agrees that defendant will have breached this Plea Agreement if, after

entering into this Plea Agreement, Defendant: (a) fails to perform or to fulfill completely each

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and every one of Defendant’s obligations under this Plea Agreement; (b) engages in any
criminal activity prior to sentencing; or (c) attempts to withdraw Defendant’s guilty plea. In
the event of such a breach, the United States will be free from its obligation under this Plea
Agreement and Defendant will not have the right to withdraw the guilty plea. Moreover,
Defendant agrees that if Defendant is in breach of the Plea Agreement, Defendant is deemed
to have waived any objection to the reinstatement of any charges under the Indictment,
Information, or complaint which may have previously been dismissed or which may have not
been previously prosecuted. Additionally, in the event of such a breach, the United States
will be free to use against Defendant, directly and indirectly, in any criminal or civil
proceeding, all statements made by the defendant and any of the information or materials
provided by the defendant at any time, including such statements, information, and materials
ae provided pursuant to this Plea Agreement or during the course of any interviews,
conversations, or debriefings conducted in anticipation of, or after entry of this Plea
Agreement, including the defendant’s statements made during proceedings before the Court
pursuant to Rule 11 of the Federal Rules of Criminal Procedure. The defendant understands
that Rule 11(f) of the Federal Rules of Criminal Procedure and Rule 410 of the Federal Rules
of Evidence ordinarily limit the admissibility of statements made by a defendant in the course
‘of plea discussions or plea proceedings if a guilty plea is later withdrawn. Defendant
knowingly and voluntarily waives the rights arising under these rules.
20. Potential Impact on Immigration Status
Pursuant to Federal Rule of Criminal Procedure 11(b)(1)(O), Defendant hereby
agrees and recognizes that if convicted, a Defendant who is not a United States citizen may

be removed from the United States, denied citizenship, and denied admission to the United

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States in the future.
21. Felony Conviction
Defendant hereby agrees and recognizes that the plea of guilty in this case will
be recognized as a felony conviction, which will result in the loss of certain rights, including,
but not limited to, the right to vote in a federal election, to serve as a juror, to hold public
office, and to lawfully possess a firearm.
22. Forfeiture Provision
The parties agree to recommend to the Court that forfeiture not be required as a

component of Defendant’s sentence.

W. STEPHEN MULDROW COREY R. AMUNDSON
United States Attorney Chief, Public Integrity Section
Department of Justice

~ Erica O. Waptack

Seth Erbe

Assistant U.S. Attorney Trial Attorney

Chief, Financial Crimes and Dated:

And Public Corruption

Dated: /
eH . OULy

Nicholas Cannon Ryan R. Crosswell

Assistant United States Attorney Trial Attorney

Dated: Dated:

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Carlos A. Perez-Irizarry, Esq.

- & A. Dominguez, Esq.
nsel for Defendant Counsel for D dant
Dated: Se ee 3 22, 2—

Dated: __ 228 2092-

Frances M. Diaz

Defendant
Dated: a 2% | 2022-

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UNDERSTANDING OF RIGHTS

I have consulted with counsel and fully understand all of my rights as to the charges
pending against me. Further, I have consulted with my attorney and fully understand my
rights as to the provisions of the Guidelines that may apply in my case. I have read this Plea
Agreement and carefully reviewed every part of it with my attorney. I fully understand this
agreement and voluntarily agree to it. Zs
Date: a| Ae | 2022— FID
Frandes M. Diaz
Defendant

I am the attorney for Defendant. I have fully explained Defendant’s rights to
Defendant with respect to the Information filed in this case. Further, I have reviewed the
applicable provisions of the Guidelines and I have fully explained to Defendant the
provisions of those Guidelines that may apply in this case. I have carefully reviewed every
part of this Plea Agreement with Defendant. To my knowledge, Defendant is entering into
this Plea Agreement voluntarily, intelligently, and with full knowledge of all consequences
of Defendant’s plea of guilty.
Date: 2/22/3092 ~ YU. Ma /
Mafia A. Dominguez, Esq. —

Counsel for Defendant

Date; 25 Feb 202d Vntanss Pr,

Carlos A. Perez-Irizarry, Esq.
Counsel for Defendant

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STIPULATION OF FACTS

In conjunction with the submission of the accompanying Plea Agreement in this case,
Defendant Frances M. Diaz (“Defendant”) admits that she is guilty as charged in the
Information. Defendant admits the following:

1. During the relevant time period of approximately December 2019 through
August 2021, Defendant was the President and Chief Executive Officer of an international
bank (“The Bank”).

Z. The Bank was an international bank, classified as an International Banking
Entity (“IBE”) under Puerto Rico’s International Center Bank Regulatory Act of 1989. The
Bank was wholly-owned by a holding corporation organized in San Juan, Puerto Rico. The
holding company was, in turn, wholly owned by a parent corporate entity company located
in the United Kingdom.

ai Individual A was the ultimate owner of The Bank and the Chairman of its
Board of Directors. Individual A had authority and control over The Bank. Individual A
was a foreign national and not a citizen of the United States.

4, Individual B was a political consultant located in Puerto Rico whose clients

included the Puerto Rico House of Representatives and Senate and the Puerto Rico

, Department of Housing within and prior to the relevant time period.

os Witness 1 was the owner of a Washington, D.C.-based accounting and
consulting firm, who also set up independent expenditure-only political action committees.
Witness 1 served as the treasurer of a political action committee that was established in or
around May 2020 to support the candidacy of Public Official B (“The PAC”). Witness |

engaged in the conduct described below at the direction of federal law enforcement

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authorities.

6. Public Official A was a public official in the executive branch of the government
of Puerto Rico whose official responsibilities included, but were not limited to, overseeing
various agencies of the government of Puerto Rico, including selecting, nominating, and
appointing heads of such agencies.

t Public Official B was an elected public official in the executive branch of the
government of Puerto Rico whose official responsibilities included, but were not limited to,
overseeing various agencies of the government of Puerto Rico, including selecting,
nominating, and appointing heads of such agencies.

8. The Office of the Commissioner of Financial Institutions of Puerto Rico
(“OCIF”) supervises and regulates the banking system in Puerto Rico.

9. The Bank Secrecy Act (“BSA”) and regulations promulgated thereunder were
enacted by Congress to address an increase in money laundering through financial
institutions. Among other requirements, the BSA required financial institutions to report
suspicious transactions through the filing of Suspicious Activity Reports (“SARs”) with the
Financial Crimes Enforcement Network of the U.S. Department of Treasury (“FinCEN”),
on any “suspicious transaction relevant to a possible violation of law or regulation.” FinCEN
has overall authority for enforcement of the BSA.

10. In or around July 2019, the Commissioner of OCIF initiated an examination
of-The Bank. The examination concluded on or around September 18, 2020. The
examination identified numerous areas at The Bank that OCIF determined required
corrective action. Among other things, as part of the examination OCIF identified dozens of

financial transactions The Bank conducted on behalf of its customers that OCIF deemed

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suspicious and that The Bank did not report as required by the BSA. Several of these financial
transactions involved bank accounts and entities owned or controlled by The Bank’s owner,
Individual A.

11. A negative examination by OCIF could have had consequences for the Bank,
including requiring the Bank to take corrective action, subjecting the Bank to an enforcement
action by OCIF that could include financial penalties, negatively impacting the Bank’s ability
to maintain its limited access to Fedwire or receive more comprehensive access to Fedwire,
and potentially resulting in the loss of the Bank’s license to operate as an IBE.

12. Between approximately December 2019 and approximately June 2020,
Individual A, through intermediaries, offered financial support to Public Official A.
Individual A, Defendant, and others sought to have Public Official A terminate the
Commissioner of OCIF and replace him with a new commissioner of Individual A’s
choosing. In fact, Public Official A replaced the Commissioner of OCIF with a new OCIF
Commissioner selected by Individual A.

13. After Public Official A lost in the primary election, Individual A decided to
financially support the federal political action committees supporting both Public Official B
and Public Official B’s opponent in the general election.

14.‘ Public Official B won the general election in November 2020. After Public
Official B’s election, Individual A, through intermediaries, including Defendant, sought to
influence the OCIF examination by making a $25,000 payment to pay for the remaining debt
incurred by The PAC during Public Official B’s 2020 campaign specifically in exchange for,
among other things, OCIF ending its examination on terms favorable to The Bank, including

relieving The Bank of the requirement of filing certain SARs, as required by the Bank Secrecy

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Act. Defendant served as an intermediary for Individual A in conveying the offer of a bribe
to Witness 1, who was acting at the direction of law enforcement agents and not on behalf of
Public Official B and whom Defendant believed to be an intermediary for Public Official B.
The acts taken by Defendant and her co-conspirators in furtherance of the conspiracy include
the following:

15. On or about April 30, 2021, Defendant and Individual B met with Witness 1,
who they understood to be a fundraiser for Public Official B, along with several other
interested persons, at The Bank’s office in San Juan, Puerto Rico to discuss OCIF’s
examination of The Bank. During the meeting, Defendant and Witness | discussed four
objectives that The Bank wished to accomplish: 1) that The Bank would not need to sign a
Memorandum of Understanding with OCIF regarding The Bank’s deficiencies; 2) that The
Bank would not need to file SARs for certain financial transactions involving bank accounts
and entities owned or controlled by Individual A; 3) that OCIF’s examination of The Bank
would end; and 4) that certain employees of OCIF would be removed from their positions.

16. Onor about May 12, 2021, Individual B sent Witness 1 a text message asking
if Witness | had been able to discuss the matter with “the boss,” referring to Public Official
B. To further the investigation, Witness | responded that he had, and that he would follow
up with Public Official B regarding the timeline for accomplishing three of The Bank’s four
objectives. In the same conversation, Witness | reminded Individual B “to give me a hand
with the contribution.”

17. Between May 18 and May 24, 2021, Defendant and Witness 1 exchanged text
messages for the purpose of setting up another in-person meeting to discuss The Bank’s

requests which The Bank intended to be conveyed to Public Official B to influence the OCIF

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examination.

18. Onor about May 27, 2021, Defendant and Individual B met with Witness 1 at
a restaurant in Guaynabo, Puerto Rico, to discuss The Bank’s requests which The Bank
intended to be conveyed to Public Official B to influence the OCIF examination. During the
May 27 meeting, Witness 1 discussed an agreement with Defendant and Individual B for a
$50,000 payment to The PAC intending that the payment be in exchange for Public Official
B directing and exerting influence on public officials to cause the four specific objectives that
The Bank wished to accomplish: 1) that The Bank would not need to sign a Memorandum of
Understanding with OCIF regarding The Bank’s deficiencies; 2) that The Bank would not
need to file SARs for certain transactions involving bank accounts and entities owned or
controlled by Individual A; 3) that OCIF’s examination of The Bank would end; and 4) that
certain employees of OCIF would be removed from their positions.

19. During the May 27 meeting, Witness | stated that Individual A, Individual B,
and Defendant should let Witness 1 know when they were ready to make the payment to The
PAC. To further the investigation, Witness | represented that at that point, Public Official B
could move forward with The Bank’s requests with respect to OCIF. Defendant responded,
“We are already there.”

20. Atthe May 27 meeting, in response to Witness 1’s request for an assurance that
Individual A was aware of the agreement, Defendant responded that Individual A was

owledgeable about the discussions and “clear on what the requests are.” Witness 1 stated
that what they were discussing “cannot leave this table,” and Individual B responded by
acknowledging the need for secrecy, stating that it would not be convenient for The Bank if it

was publicly known “that [Public Official B’s office] is intervening in any way.” Witness 1

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told Defendant and Individual B that he would send them information for wiring the money
that The Bank was pledging for Public Official B. Defendant told Witness 1 to send the
information only to Individual B. When Witness | indicated that he did not like to talk or
text about “this” on the phone, Defendant stated, “Exactly. One never knows who might be
listening.”

21. On or about May 28, 2021, Witness 1 sent Individual B via text message the
wiring instructions for the account into which The Bank’s payment to The PAC should be

deposited.

22. Inor around May or June 2021, Defendant informed Individual A of Witness
I’s representation that in exchange for Individual A’s $50,000 payment to The PAC, Public
Official B would ensure that 1) The Bank would not need to sign a Memorandum of
Understanding with OCIF; 2) The Bank would not need to file certain SARs for transactions
related to bank accounts and entities owned or controlled by Individual A; 3) OCIF’s

examination of The Bank would be resolved on terms favorable to The Bank.
23.  Inor around July 2021, Individual A, the owner of The Bank, decided to make
a $25,000 payment to The PAC from an account held in the name of The Bank. Individual
os! A suggested in a text message to Defendant that he would authorize the remaining $25,000
of the $50,000 payment to The PAC only after Public Official B delivered on The Bank’s

requests.
24. On a around August 11, 2021, Individual A caused a $25,000 wire to be sent
| to The PAC from an account held by The Bank’s holding corporation.

25. As a result of the $25,000 payment to The PAC’s bank account, which

Defendant understood to be a payment to support Public Official B’s campaign, Defendant,

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Individual A, and Individual B expected the OCIF examination of The Bank to be resolved
in terms favorable to The Bank.

26. Defendant acknowledges that the BSA requires the reporting of suspicious
banking transactions conducted or attempted by, at, or through a bank which involve or
ageregate to at least $5,000 in funds or other assets. Through this bribery scheme, Defendant
and her co-conspirators sought to ensure that no adverse actions would be taken against The
Bank by OCIF as a result of OCIF’s examination. The potential adverse actions, which were
communicated to The Bank by OCIF, potentially included a fine of more than $5,000. In
addition, Defendant acknowledges that pursuant to 52 U.S.C. § 5321(a)(1), Bancredito’s
willful failure to file SARs could have included a civil penalty of up to the greater of the
amount involved in the transaction (not to exceed $100,000) or $25,000.

27. Inthe years 2019, 2020, and 2021, the commonwealth territory of Puerto Rico
received in excess of $10,000 under federal programs involving grants, subsidies, loans,

guarantees, insurance, and other forms of assistance,

foe Corre Lk. (Dep

Ryan R. Crosswell Mafia A. Dominguez, Esq.

Trial Attorne Counsel for Defendant

Dated: 3/! [2 2] Dated: 2/2 6/2022.

Erica O. Waymack Carlos A. Perez- Irizarry ~ . |
Trial Attorney Counsel pe Defendapt

Dated: ark [9 Dated: Te B 2p

Nicholas Cannon Frances M. Diaz

Assistant United States Attorney Defendant

Dated: _ 3/ l[ 2- Dated: al a? lez.

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